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                                UNITED STATES JUDICIAL PANEL
                                             on
                                 MULTIDISTRICT LITIGATION


IN RE: DAVOL, INC./C.R. BARD, INC.,
POLYPROPYLENE HERNIA MESH
PRODUCTS LIABILITY LITIGATION                                                         MDL No. 2846


                                          TRANSFER ORDER


         Before the Panel:* Plaintiffs in fifteen of the actions listed on Schedule A pending in seven
districts move under 28 U.S.C. § 1407 to centralize pretrial proceedings in this litigation in the
Southern District of Ohio or, alternatively, the Western District of Missouri. Plaintiffs in more than
30 actions support centralization in one or both of these districts. Plaintiffs’ motion involves 53
actions pending in 21 districts, as listed on Schedule A.1 The Panel also has been notified of 69
potentially-related actions (“potential tag-along actions”) pending in 27 districts.2

         Movants take the position that the MDL should not include cases involving the Bard
Composix Kugel Hernia Patch (“CK Patch”). Defendants C.R. Bard, Inc. and Davol Inc. do not
oppose centralization of litigation involving their polypropylene hernia repair products, but only if
all such products (including the CK Patch) are included in centralized proceedings. Defendants
suggest the District of New Jersey or the Southern District of New York or, alternatively, the Eastern
District of New York, the District of Rhode Island, or the Eastern District of Louisiana as transferee
district. Plaintiff in one potential tag-along action opposes inclusion of the CK Patch cases.3 In
reply, movants argue that the transferee court should determine whether the MDL should include CK
Patch cases.

       On the basis of the papers filed and hearing session held, we find that these actions involve
common questions of fact, and that centralization in the Southern District of Ohio will serve the
convenience of the parties and witnesses and promote the just and efficient conduct of this litigation.
All of the actions share common factual questions arising out of allegations that defects in


          *
              Judge Lewis A. Kaplan and Judge Ellen Segal Huvelle took no part in the decision of this
matter.
          1
              Two additional actions included in the motion for centralization have been dismissed.
          2
              See Panel Rules 1.1(h), 7.1, and 7.2.
          3
        Plaintiffs in two additional potential tag-along actions initially opposed inclusion of the CK
Patch cases but withdrew their opposition and now support centralization of all actions in the
Southern District of Ohio.
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defendants’ polypropylene hernia mesh products can lead to complications when implanted in
patients, including adhesions, damage to organs, inflammatory and allergic responses, foreign body
rejection, migration of the mesh, and infections. Centralization will eliminate duplicative discovery;
prevent inconsistent pretrial rulings; and conserve the resources of the parties, their counsel, and the
judiciary.

        Whether to include the CK Patch cases in centralized proceedings is a question not currently
before the Panel, as none of the cases on the motion involve the CK Patch. We will address this
question in due course through the conditional transfer order process.

       We find that the Southern District of Ohio is an appropriate transferee district. It is centrally
located geographically, making it a convenient forum for this nationwide litigation. Eight actions
are pending in this district, six of them before Judge Edmund A. Sargus, an experienced transferee
judge who will steer these cases on a prudent course.

       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Southern District of Ohio are transferred to Southern District of Ohio and, with the consent of
that court, assigned to the Honorable Edmund A. Sargus for coordinated or consolidated pretrial
proceedings.


                                       PANEL ON MULTIDISTRICT LITIGATION



                                       __________________________________________
                                                      Sarah S. Vance
                                                          Chair

                                       Marjorie O. Rendell             Charles R. Breyer
                                       R. David Proctor                Catherine D. Perry
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IN RE: DAVOL, INC./C.R. BARD, INC.,
POLYPROPYLENE HERNIA MESH
PRODUCTS LIABILITY LITIGATION                                         MDL No. 2846


                                      SCHEDULE A

           District of Arizona

     BOURLOKAS v. DAVOL INCORPORATED, ET AL., C.A. No. 2:18-00615

           Eastern District of California

     SILBER, ET AL. v. DAVOL, INC., ET AL., C.A. No. 1:18-00479
     GRESCHNER v. CALIFORNIA DEPARTMENT OF CORRECTIONS &
          REHABILITATION, ET AL., C.A. No. 2:15-01663
     HANSEN v. DAVOL, INC., ET AL., C.A. No. 2:18-00495

           Southern District of Florida

     DAWSON-WEBB v. DAVOL, INC., ET AL., C.A. No. 0:17-62012
     BARBAREE v. DAVOL, INC., ET AL., C.A. No. 9:18-80243

           Central District of Illinois

     MCGINNIS v. C.R. BARD, INC., ET AL., C.A. No. 1:16-01255

           Northern District of Illinois

     COLEMAN v. DAVOL, INC., C.A. No. 1:18-01706

           Eastern District of Kentucky

     MOORE v. C.R. BARD, INC., ET AL., C.A. No. 0:17-00132

           Western District of Kentucky

     WHITEHOUSE v. DAVOL, INC., ET AL., C.A. No. 3:18-00020

           Eastern District of Louisiana

     STIPELCOVICH v. C.R. BARD, ET AL., C.A. No. 2:17-09656
     MCMANUS v. C.R. BARD, ET AL., C.A. No. 2:17-11836
     BAPTIST v. C.R. BARD, INC., ET AL., C.A. No. 2:17-12718
     ROBERTS, SR., ET AL. v. C.R. BARD, INC., ET AL., C.A. No. 2:17-13657
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MDL No. 2846 Schedule A (Continued)


            Eastern District of Louisiana (Cont.)

      SANDERS, ET AL. v. C.R. BARD, INC., ET AL., C.A. No. 2:18-02884

            Southern District of Mississippi

      DOVE v. DAVOL, INC., ET AL., C.A. No. 3:18-00003

            Eastern District of Missouri

      GREENWOOD v. DAVOL, INC., ET AL., C.A. No. 2:17-00039
      BROYLES v. DAVOL, INC., ET AL., C.A. No. 4:18-00513

            Western District of Missouri

      COUSSAS v. DAVOL, INC., ET AL., C.A. No. 2:18-04015
      POWELL v. DAVOL, INC., ET AL., C.A. No. 3:18-05019
      LYON v. C.R. BARD, INC., ET AL., C.A. No. 4:18-00039
      ELI v. C.R. BARD, INC., ET AL., C.A. No. 4:18-00116
      ELLIOT v. C.R. BARD, INC., ET AL., C.A. No. 4:18-00125
      HEILI v. C.R. BARD, INC., ET AL., C.A. No. 4:18-00130
      MANUEL v. C.R. BARD, INC., ET AL., C.A. No. 4:18-00131
      POWELL v. DAVOL, INC., ET AL., C.A. No. 4:18-00156
      SCHAPELER v. DAVOL, INC., ET AL., C.A. No. 4:18-00169
      CHRISSAN v. C.R. BARD, INC., ET AL., C.A. No. 4:18-00171
      ROWE v. C.R. BARD, INC., ET AL., C.A. No. 6:18-03019
      LEE v. C.R. BARD, ET AL., C.A. No. 6:18-03075

            District of New Jersey

      OGLE v. C.R. BARD, INC., ET AL., C.A. No. 2:18-00819
      BURGESS v. C.R. BARD, INC., ET AL., C.A. No. 2:18-01390
      SPENCER v. C.R. BARD, INC., ET AL., C.A. No. 2:18-01692
      GALLOW v. C.R. BARD, INC., ET AL., C.A. No. 2:18-02533
      VOLPE v. C.R. BARD, INC., ET AL., C.A. No. 2:18-02602
      ZEMKO v. C.R. BARD, INC., ET AL., C.A. No. 2:18-02742
      NEWLAND, ET AL. v. C.R. BARD, INC., ET AL., C.A. No. 2:18-02915
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MDL No. 2846 Schedule A (Continued)


            District of New Mexico

      NANCE v. C.R. BARD, INC., ET AL., C.A. No. 1:18-00003

            Eastern District of New York

      FURLEITER v. DAVOL, INC., ET AL., C.A. No. 2:18-01229

            Northern District of Ohio

      KNAUSS, ET AL. v. DAVOL, INC., ET AL., C.A. No. 3:18-00316

            Southern District of Ohio

      LANE v. DAVOL, INC., ET AL., C.A. No. 2:18-00164
      CURREY v. DAVOL, INC., ET AL., C.A. No. 2:18-00222
      ABSHIRE, ET AL. v. DAVOL, INC., ET AL., C.A. No. 2:18-00268

            Eastern District of Pennsylvania

      WROTEN, ET AL. v. C.R. BARD, INC., ET AL., C.A. No. 2:17-04546
      GORDON v. C.R. BARD, INC., ET AL., C.A. No. 2:17-04553

            District of South Carolina

      BROWN v. C.R. BARD, INC., ET AL., C.A. No. 2:18-00580
      CAMPBELL, ET AL. v. C.R. BARD, INC., ET AL., C.A. No. 2:18-00581
      ADAMS v. C.R. BARD, INC., ET AL., C.A. No. 2:18-00582
      BRUGGER, ET AL. v. C.R. BARD, INC., ET AL., C.A. No. 3:17-00228

            Middle District of Tennessee

      TERRELL v. C.R. BARD, INC., ET AL., C.A. No. 3:17-01575

            Eastern District of Texas

      WILLIAMS v. DAVOL, INC., ET AL., C.A. No. 1:18-00151
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MDL No. 2846 Schedule A (Continued)


            Southern District of Texas

      BECERRA v. C.R. BARD, INC., ET AL., C.A. No. 1:18-00023

            Southern District of Texas (Cont.)

      WADE v. DAVOL, INC., ET AL., C.A. No. 4:18-01112
